Case 2:04-cv-02971-.]DB-dkv Document 4 Filed 06/08/05 Page 1 of 2 Page|D 9

UNITED sTA TES DISTRICT CoURT F"ED m <% me
WESTERNDISTRICT OF TENNESSB§EIUH -6 PH 3= 35

WESTERN DIVISION R@BER~; ;~ el memo

CLFZF§§'-(, U/ES. D!ST. G'R
W.D. OF `i'f‘i. MEMPHIS

CURTIS RAY HARRIS, JUDGMENT IN A CIVIL CASE
Plaintiff,

v.

ROBERT PERRISH, et al., CASE NO: 04-2971-B
Defendants.

 

DECISION BY COURT. This action came to consideration before the Ccurt. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance With the Order Of Dismissal
entered on June 7, 2005, this cause is hereby dismissed Without prejudice.

P OVED:

M

J. ANIEL BREEN
U ITED STATES DISTRICT COURT R
ll oo/ OBERT R. Dl TROUO
Daie Clerk of Court
Me % C/*Q/
(By) D uty Clerk

 

This document entered on the doc el sheet in cogliance
with Hu!e 58 and/or 79(3) FRCP on _,_E.L_L§_' Q...._

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02971 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Curtis Ray Harris

WEST TENNESSEE STATE PENITENTIARY
300439

P.O. BOX l 150

Henning, TN 38041--] 15

Honorable J. Breen
US DISTRICT COURT

